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AO 440 (Rcv. 12)‘{]9} Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Missouri

ROBERT G. MONGLER

 

Pla:`n£:`jf

v. Civil Action No. 2217-CV-00006
BRIAN KN|GHT. ET AL.

`\-»-/‘--/\-»/N-_/`\-.-/‘~_/`-_/

 

Defendant

SUl\'IMONS IN A CIVIL ACTION

CONSULTING DIRECT. |NC.
TY KlRKPATRlCK

1455 SARD|NE CREEK ROAD
GOLD H|LL, OR 97525

TO! (D@Weudam 's name and address)

A lawsuit has been filed against you.

Witliin 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are. DONALD J. SCHUTZ, ESQ.
535 CENTRAL AVENUE
ST. PETERSBURG. FL 33701
727»823-3222
don@|awus.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 01»*31/2017

 

Signarure ofCIerk or Depug) C'l'erk

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Civil Action No. 2:1 7-CV-00006

PROOF OF SERVICE
(This section should not bejiied with the court uniess required by Fed'. R. Civ. P. 4 (i))

Thi_S StlmmOIlS fOI' (name ofindividuni and titie, :_'fany)

 

was received by me on (date)

lj I personally served the summons on the individual at gained

 

011 (dare) ; Or

 

C| I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

 

 

 

 

 

on (dare) , and mailed a copy to the individual’s last known address; or
Cl 1 served the summons on (r:ame ofindfv:‘duay , who is
designated by law to accept service of process on behalf of (name ofcrgasfzanon,l
01'1 (da!e) ; 01'
El I returned the summons unexecuted because ; or
l:l Ol'hel' (specijj)):
My fees are $ for travel and $ for services, for a total of $ 0_00
I declare under penalty of perjury that this information is true.
Date:
Server's signature
Prinred name and title
Ser'ver ’s address

Additional information regarding attempted service, etc:

